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 8                             UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

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11     CATHERINE L. WISSENBACK,                        No. 2:24-cv-02047-DJC-JDP
12                      Plaintiff,
13
              v.                                       ORDER
14
       OREGON JV, LLC et al.,
15
                        Defendants.
16

17

18          On January 23, 2025, Plaintiff’s counsel, John Latini, failed to appear at oral
19    argument for Defendant Christopher Peterman’s Motion to Dismiss (ECF No. 5).
20    Defendant’s counsel, Jason Sommer, appeared. In response, this Court issued an
21    Order to Show Cause requiring Plaintiff to show cause, in writing, as to why the Court
22    should not issue sanctions for failure to appear, or in the alternative, assess costs
23    against Plaintiff borne by counsel for the Defendant regarding his attendance at the
24    scheduled hearing, see Local Rule 230(i). (ECF No. 16.) Latini requested that
25    sanctions not be issued and explained that his failure to appear was the result of his
26    poor judgment. (ECF No. 19.) Defendant now seeks reimbursement for the costs
27    associated with preparing for, and attending, oral argument. (See “Decl. of J.
28    Sommer” (ECF No. 18).)

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 1          Defendant requests $1,093.00 in total costs. (Decl. of J. Sommer ¶ 7.)

 2    Defendant’s counsel’s hourly rate for new clients and/or non-insurance legal matters is

 3    $425 per hour. (Id. ¶ 3.) The rate for cases where insurance is involved, such as this

 4    one, is $245 per hour. (Id.) From the Declaration provided, the Court finds that the

 5    rate is reasonable. (See id. ¶¶ 4–6.) Defendant’s counsel spent 4.4 hours on the

 6    Motion to Dismiss hearing. (Id. ¶ 7.) This time consisted of 2.4 hours of preparation,

 7    one hour of travel to and from his office in Roseville, California to attend the hearing,

 8    and nearly one hour of waiting in court on the day of the hearing. (Id.) He also spent

 9    fifteen dollars on parking. (Id.) The total costs and fees were calculated by multiplying

10    the hours Defendant’s counsel spent, 4.4, by the hourly rate, $245, to get $1,078 plus

11    the fifteen-dollar parking for a final assessment of $1,093. The Court finds that the

12    calculation of costs is reasonable. Moreover, the Court concludes assessment of costs

13    to compensate Defendant’s appearance for an argument that was unable to take

14    place is appropriate in this case given the Plaintiff’s response to the Order to Show

15    Cause.

16          Based on the foregoing IT IS HEREBY ORDERED:

17                 1. Plaintiff’s counsel is assessed costs of $1,093.00 incurred by

18                     Defendant’s counsel in preparing for the motion hearing.

19                 2. Within fourteen days of this Order, Plaintiff’s counsel is to submit

20                     proof of payment with the Court.
21                 3. The Order to Show Cause (ECF No. 16) is DISCHARGED.

22
            IT IS SO ORDERED.
23

24    Dated:    February 21, 2025
                                                    Hon. Daniel J. Calabretta
25                                                  UNITED STATES DISTRICT JUDGE
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